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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
VS.                                             §          Criminal No. 4:17-CR-000514
                                                §
                                                §
JAVIER ALVARADO-OCHOA                           §
                                                §
                      Defendant.                §

                      DEFENDANT JAVIER ALVARADO OCHOA’S
                     REPLY IN SUPPORT OF MOTION TO DISMISS

       In its haste to try to extend jurisdiction over citizens of foreign countries, the Government

in this case brought charges against Javier Alvarado-Ochoa (“Alvarado”) for money laundering

and conspiracy to launder money where he never stepped foot in the United States as part of the

alleged scheme because it could not do so directly under the Foreign Corrupt Practices Act

(“FCPA”). This amounts to an attempted end-around that would effectively nullify well-reasoned

case law and the clear intent of Congress. There is a presumption against the extraterritorial

application of United States criminal statutes and, in this case, the Government cannot overcome

that presumption. For that reason, because the Government’s error is unfixable, and in required

deference to principles of international comity, which are evident and weighty here, all of the

charges against Alvarado must be dismissed.

       First, the charges of conspiracy to violate the money laundering statute must be dismissed

because judicial precedent forecloses the Government’s attempt to support an Anti-Money

Laundering Act (“AMLA”) charge with the predicate act of a conspiracy to violate the FCPA by

a foreign national who is not, in the first place, subject to the FCPA. Similarly, the Government




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may not make its essential claim of domestic wire fraud extraterritorial by disguising it as FCPA-

predicated “money laundering.”

       Second, because the highest criminal court in Spain has already rejected the Government’s

request to extradite Alvarado, ruling that the allegations made in this criminal case are substantially

similar to those being investigated in Spain and should, consequently, proceed not in the United

States but in Spain, the instant case should be dismissed in deference to the caselaw explaining the

mandates of international comity and the laws governing relations between sovereign nations.

       I.      The AMLA Cannot Serve as an End-Around the Law Limiting the
               Application of the FCPA to Foreign Nationals.
       As set forth below, as to strictly foreign nationals, liability under the FCPA is rightly

limited to those physically present in the United States during the time of the alleged offense. To

this end, “[c]ourts in applying criminal laws generally must follow the plain and unambiguous

meaning of the statutory language.” Salinas v. United States, 522 U.S. 52, 57 (1997) (cited by

United States v. Rainey, 757 F.3d 234, 241 (5th Cir. 2014)). “[O]nly the most extraordinary

showing of contrary intentions in the legislative history will justify a departure from that

language.” United States v. Albertini, 472 U.S. 675, 680 (1985) (citations omitted); see also

Dowling v. United States, 473 U.S. 207, 212–214 (1985) (penal laws are to be strictly construed).

       Like RICO, which is a vessel for a general set of circumstances, called for descriptive

purposes “racketeering,” the AMLA is a vessel for the otherwise legal circumstance of “processing

money”. Both statutes allow prosecutors and courts, for the sake of efficiency in the administration

of justice, to fill the respective vessels with allegations that defendants have created a situation

involving the commission of “predicate offenses.” See United States v. Santos, 553 U.S. 507, 517

(2008). For example, because neither RICO nor AMLA itself outlines a criminal charge, wire fraud

is capable of being a predicate offense, at least domestically, under both RICO and AMLA. See



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Pasquantino v. United States, 544 U.S. 349, 383 (2005) (dissenting on other grounds). In many

cases, the Government even fills the vessel, the AMLA, with predicate criminal offenses and then,

as if it were building Russian nesting dolls, makes the predicate-filled AMLA a criminal predicate

offense for RICO. See, e.g., United States v. Herrera, 466 F. App’x 409, 422 (5th Cir. 2012)

(noting conviction on “predicate RICO offense of conspiracy to commit money laundering”);

Absolute Activist Value Master Fund Ltd. v. Devine, 233 F. Supp. 3d 1297, 1322 (M.D. Fla. 2017)

(stating the “RICO predicate acts attributed to defendant all flow from the efforts to conceal and

preserve the proceeds of the successful securities fraud scheme” and listing numerous AMLA

predicate offenses).

        A.     Counts 1, 3, 13, 15-17 Fail to Allege Alvarado is in the Category of Persons
               Covered by the FCPA’s Extraterritorial Provisions Under Existing Law.
        Paraphrasing the Second Circuit, “Because [Alvarado] is not an American citizen, was not

employed by [an] American subsidiary, and did not enter the United States while allegedly

working on [any] scheme, he falls outside the category of persons directly covered by the FCPA.”

United States v. Hoskins, 44 F.4th 140, 145 (2d Cir. 2022) (“Hoskins II”).

        B.     The Government May Not Charge Alvarado with Conspiring to Commit
               FCPA-Related Crimes He Could Not Have Committed as a Principal (Counts
               1 and 13).
       Facing the locked front door categorically ruling out an FCPA violation, the Government,

in Counts 1 and 13, has tried to tiptoe around to the backdoor, charging Alvarado with a

“conspiracy” to violate the money laundering statute founded directly on what the Government

claims to be the “unlawful activity” of . . . an FCPA violation. The Government’s backdoor

stratagem was rejected analogously by the Supreme Court in RJR Nabisco, more directly by the

Fifth Circuit in Castle, and completely by the extraordinarily thorough and well-reasoned opinion

of the Second Circuit in United States v. Hoskins (“Hoskins I”), 902 F.3d 69, 76 (2d Cir. 2018),



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where the Government, as it does here, contended that the defendant “was liable under the FCPA

as a co-conspirator” to an FCPA violation.” Id. (emphasis added).

        First, we can be sure the Supreme Court would employ the same reasoning here that it used

in RJR Nabisco, Inc. v. Eur. Cmty., 579 U.S. 325, 335 (2016) – where it rejected the misuse of the

FCPA as a predicate act under RICO – to reject the Government’s effort here to misuse an FCPA

conspiracy as a predicate offense under the AMLA. In applying its extraterritoriality standard in

RJR Nabisco, the Supreme Court held that RICO applied in that case “only to the extent that the

predicates” on which RICO charges could be founded “themselves apply territorially.” Id. at 339.

“Foreign conduct,” in particular, “must violate a predicate statute that” -- unlike the FCPA as

applied to Alvarado – “manifests an unmistakable congressional intent to apply extraterritorially,”

id., because “when a statute provides for some extraterritorial application, the presumption against

extraterritoriality operates to limit that provision to its terms.” Id. The Court explained that statutes

such as RICO or the AMLA, which require an underlying predicate, “must be analyzed

independently to discern whether they permit extraterritorial application.” Moreover, “generally,

the extraterritorial reach of an ancillary offense like aiding and abetting or conspiracy is

coterminous with that of the underlying statute.” Hoskins I, 902 F.3d at 96 (citing cases).

        The Second Circuit has exhaustively analyzed the question in Hoskins I. Congress did not

intend FCPA predicates to apply extraterritorially over Alvarado. The Government may not evade

Congress’ intent by resorting to the AMLA’s ancillary FCPA offenses of aiding, abetting, and

conspiracy as its predicate for “unlawful” offenses. The Supreme Court’s analysis in RJR Nabisco

is in accord: just like the RICO statute whose extraterritorial reach through the FCPA was found

wanting there, the AMLA does not “create new substantive offenses, but merely allow[s] liability

for other legal violations.” Hoskins I, 902 F.3d at 96.




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       That AMLA is merely a vessel for other liability is exactly why the Government tried to

fill up its AMLA counts against Alvarado with underlying violations of the FCPA. But just as the

FCPA could not give extraterritorial reach to the RICO claims in RJR Nabisco, the FCPA-based

conspiracy claims here cannot confer such reach on the AMLA. The “government may not expand

the extraterritorial reach of the FCPA by recourse to the conspiracy and complicity statutes.”

Hoskins I, 902 F.3d at 97. As the Second Circuit pointed out regarding the defendant in Hoskins,

“the presumption against extraterritoriality bars the government from using the conspiracy and

complicity statutes to charge Hoskins with any offense that is not punishable under the FCPA

itself,” including the charges of conspiracy and complicity to violate the FCPA, “because the

FCPA clearly dictates that foreign nationals may only violate the statute outside the United States

if they are agents, employees, officers, directors, or shareholders of an American issuer or domestic

concern.” Id. Alvarado, of course, is not alleged to be any of these.

       The Supreme Court’s reasoning in RJR Nabisco allows us to extrapolate that the

Government’s inability to invoke the FCPA extraterritorially as a predicate act under RICO in that

case means that it is unable to invoke the FCPA extraterritorially as a predicate act under the

AMLA here. But the Fifth Circuit has gone as far as to directly foreclose the misuse of the general

conspiracy statute in combination with the FCPA, see United States v. Castle, 925 F.2d 831, 832

(5th Cir. 1991), just as the Government is trying to do here with an AMLA-flavored conspiracy to

violate the FCPA. Castle has already asked and answered “whether foreign officials,” like

Alvarado, whom the Government “cannot prosecute under the FCPA itself, may be prosecuted

under the general conspiracy statute for conspiring to violate the Act.” Id. Substitute “an AMLA

conspiracy” for “the general conspiracy statute,” and the result is precisely the current case. The

Fifth Circuit in Castle answered no: foreign officials like Alvarado may not be prosecuted under a




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conspiracy count to violate the FCPA. The Court observed that where, as here, the FCPA created

definite categories of persons liable under it, Congress made clear it had “absolutely no intention”

of allowing prosecutors to depart – whether via the backdoors of the AMLA, RICO, or conspiracy

statutes – from the clearly defined categories of FCPA-liable persons to “prosecut[e] the foreign

officials involved.” Id. at 834.

       In short, even before RJR Nabisco shut the door on the Government’s ability to levy

conspiracy to violate the FCPA against a person not capable of violating the FCPA, even before

Hoskins I and II persuasively recommended that this Court shut the very door before us now, that

of abusing conspiracy charges to reach foreign nationals under the FCPA, the Fifth Circuit in

Castle spoke directly to this Court’s situation today:

       Based upon the language of the statute and the legislative history, this Court finds in the
       FCPA what the Supreme Court in Gebardi found in the Mann Act: an affirmative
       legislative policy to leave unpunished a well-defined group of persons [even if they]
       were necessary parties to the acts constituting a violation of the substantive law. The
       Government has presented no reason why the prosecution of Defendants ... should go
       forward in the face of the congressional intent not to prosecute foreign officials.

Id. at 836 (emphases added). In language directly applicable to the more general AMLA statute,

the Castle court concluded, “it would be absurd to take away with the earlier and more general

conspiracy statute the exemption from prosecution granted to foreign officials by the later and

more specific FCPA.” Id.

       The Government’s footnoted response to these arguments is three-fold and fails thrice.

First, it says, “many of these arguments,” though it does not and cannot identify which, “were

recently rejected by the Fifth Circuit” in the March 2, 2023 “Rafoi/Murta Opinion” at 5-9. See

Govt. Resp. at 11 n.6. The Government has it wrong. The Fifth Circuit in Rafoi/Murta made

absolutely clear that Rafoi and Murta, unlike Alvarado, were chargeable under the FCPA as

agents: “The indictment specifically alleges that both Rafoi and Murta acted as ‘agents of domestic



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concern’ as that term is used in the FCPA.” Op. at 8 (emphasis added). Indeed, the Fifth Circuit

stressed, “This paragraph is incorporated into every count with which Defendants are charged.”

Id. (emphasis added). “Viewed practically,” the court went on, “this express characterization of

their agent-of-a-domestic-concern status is enough to be put on notice of the charge and agency

theory asserted against them such that they may prepare a defense.” Id. (emphasis added).

         The Superseding Indictment makes no such specific allegations of agency against

Alvarado. It makes no such incorporation into every count. It makes no such “notice of the charge”

and the crucial “agency theory” against Alvarado, without which there could be no charge at all.

The Government may not now will into existence such specific allegations, incorporations, and

notices of its charge and agency theory. Its indictment is completely deficient, and it is too late to

amend it in these pleadings.

         But what about Alvarado’s argument, drawn from RJR Nabisco, Castle, and Hoskins I, that

the Government may not try to sneak FCPA-related charges through the backdoor of an AMLA or

FCPA “conspiracy”? Was that argument “recently rejected by the Fifth Circuit,” as the

Government argues? It was not, as a cursory examination of the opinion will confirm. 1

         The Government’s second, footnoted argument is that Alvarado “was not charged with

violating the FCPA. He was only charged with violating the money laundering statute.” That’s

not, by any stretch, true. Here, the Government expressly and repeatedly named the FCPA as being



1
 In Rafoi/Murta, the Fifth Circuit said, of these precise arguments, “Since they were not ruled upon by the district
court, this Court is not required to address these alternative arguments for or against dismissal. And we decline to rule
on these arguments now.” Op. at 10 (citation omitted) (citing cases saying the district court “should have the
opportunity” to “better address” such arguments). The Court of Appeals expressly considered only the existence of a
“physical-presence” requirement of the AMLA. See Op. at 15 (concluding there was no such requirement). It did not
address whether Rafoi and Murta could be charged with conspiracy to violate the money laundering statute through
“unlawful activity” of the FCPA (Rafoi Count 3; Murta Counts 13, 18, 19) or conspiracy to violate the FCPA (Rafoi
Count 2; Murta Count 14), or whether those counts should have been dismissed under the reasoning of Hoskins I. This
Court may and should address those arguments now.



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the “unlawful activity” that supposedly triggered Alvarado’s money laundering liability. The

FCPA is “the charge”. Compare Govt. Resp. at 11 n.6 with Counts 1, 3, 13, 15-17. Once again,

the Government has tied its own hands in the Superseding Indictment, and it cannot be rescued

from its terms.

         Third, confronted with, for it, the devastating holding in Hoskins I, the Government

suggests Hoskins II somehow overrides Hoskins I because Hoskins II “left the money laundering

charges intact.” See Govt. Resp. at 11 n.6. But because the Hoskins II court did not address the

money laundering charges at all, 2 saying that the court left the charges “intact” is akin to saying

that the U.S. Army, during the Second World War, left Canada “intact.” The Government

concludes its argument as if it had issued an indictment that did not specify the FCPA as the

“unlawful activity,” saying that “The FCPA [conspiracy] holding of Hoskins simply does not apply

to the money laundering charges against Defendant.” Id. Except that it does, because in every

count against him, the Government charged Alvarado with conspiracy to launder money that was

supposedly the proceeds of “unlawful activity” made into such by the FCPA. Hoskins, and Castle

too, involved (1) an alleged conspiracy (2) by a foreign national to violate (3) the FCPA via (4)

bribery charges that (5) could not be brought against a foreign national. The instant case, in all

material respects identical, involves a (1) conspiracy (2) by a foreign national to violate the (3)(a)

predicate-requiring AMLA via (b) FCPA (4) bribery charges that (5) may not be brought against

a foreign national.

         This Court must shut the back door of conspiracy and reject the Government’s theory that

a foreign national may be “guilty as an accomplice or a co-conspirator for an FCPA crime that he



2
  Hoskins II made clear that the “the government brought [its] appeal” only regarding the district court’s grant of the
motion for acquittal on the FCPA counts, while Hoskins cross-appealed only issues relating to the Speedy Trial Act,
the Sixth Amendment, and two jury instructions. 444 F.4th at 145.


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or she is incapable of committing as a principal,” as Hoskins II put it, 44 F.4th at 145, and dismiss

all counts waiting at the backdoor of conspiracy and complicity: Counts 1 and 13.

        C.     The Government May Not Make Domestic Wire Fraud Extraterritorial by
               Disguising It as FCPA-Predicated “Money Laundering.”
       This Court must also reject the Government’s attempt to end-run Congress’ refusal to

embed extraterritoriality into the wire fraud statute by trying to frame unlawful wire transfers as

not wire fraud offenses but disguised FCPA predicates to the AMLA. The Government states,

“The Superseding Indictment alleges that Defendant caused, aided and abetted, [sic] the making

of the wire transfers at issue . . . and that the money laundering conduct took place in the Southern

District of Texas, and elsewhere.” Govt. Resp. at 12 (emphasis added). The Government’s attempt

to lasso a foreign national for allegedly making wire transfers as part of an overwhelmingly

international scheme runs afoul of the strong legal presumption against applying criminal statutes

extraterritorially. The Government has creatively elected to pursue AMLA charges against a

foreign national operating outside the U.S. because Congress has expressed no extraterritorial

intent to prosecute wire transfers via the most obvious vehicle for doing so: the wire fraud statute.

       The Government has limited options for charging a foreign national with attempting to use

wire transfers to launder money that allegedly comes from bribes. The Government did not, of

course, allege Alvarado conducted, or attempted to conduct, the alleged money-laundering wire

transfers while he was in the United States. Consequently, the Government urges a violation of

Alvarado’s right to due process and its own obligation to respect the principles of international

comity by arguing that even though a defendant was neither a citizen of nor present in the United

States when he allegedly used wire transfers to launder money, he may, nevertheless, be prosecuted

for the alleged wire transfers.




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        The Supreme Court in RJR Nabisco developed a two-step framework for analyzing

extraterritoriality issues. First, a court must ask “whether the presumption against extraterritoriality

has been rebutted—that is, whether the statute gives a clear, affirmative indication that it applies

extraterritorially.” RJR Nabisco, 579 U.S. at 326. This analysis is not difficult in the case of the

wire fraud statute itself, for it makes no express mention of application outside the United States.

The wire fraud statute, 18 U.S.C. §1343, like the FCPA in Alvarado’s case, “does not have

extraterritorial application.” Sonterra Cap. Master Fund, Ltd. v. Barclays Bank PLC, 366 F. Supp.

3d 516, 555 (S.D.N.Y. 2018) (concluding wire fraud may not serve as a predicate act for a RICO

claim premised on foreign-based activities).

        And what of the second prong of the RJR Nabisco analysis, that of examining the “focus”

of the wire fraud statute for extraterritorial intent? “[T]o determine the domestic reach of the wire

fraud statute . . . , the Court must “look[ ] to the statute’s focus,” and “[i]f the conduct relevant to

the statute’s focus occurred in the United States, then the case involves a permissible domestic

application even if other conduct occurred abroad; but if the conduct relevant to the focus occurred

in a foreign country, then the case involves an impermissible extraterritorial application

regardless of any other conduct that occurred in U.S. territory.” United States v. Napout, 332 F.

Supp. 3d 533, 552–53 (E.D.N.Y. 2018), aff’d, 963 F.3d 163 (2d Cir. 2020) (emphasis added; citing

RJR Nabisco). Several district courts have held that a “domestic” application of the wire fraud

statute has three requirements: “(1) a defendant or co-conspirator commits a substantial amount

of conduct in the United States, (2) the conduct is integral to the commission of the scheme to

defraud, and (3) at least some of the conduct involves the use of U.S. wires in furtherance of the

scheme to defraud.” Napout, 332 F. Supp. 3d at 554 (emphasis added); see also United States v.

Gasperini, No. 16-cr-441 (NGG), 2017 WL 2399693 at *8 (E.D.N.Y. June 1, 2017); United States




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v. All Assets Held at Bank Julius, 251 F.Supp.3d 82 (D.D.C. 2017); United States v. Prevezon

Holdings, Inc., 122 F.Supp.3d 57, 71-72 (S.D.N.Y. 2015)).

       Here, the Government’s case fails at the first prong of the analysis: nearly the entirety of

the Government’s case occurred outside of the United States. The Superseding Indictment contains

no allegations amounting to a “substantial amount of conduct in the United States” by Alvarado.

Thus, the Government’s attempt to use mere wire transfers that allegedly touched the United States

cannot rebut the presumption against asserting jurisdiction over overwhelmingly foreign activities.

The mere fact that “some domestic activity is involved in [a] case” cannot create a level of

domestic focus in a matter capable of rebutting the presumption against extraterritoriality. See

Morrison v. Nat'l Austl. Bank Ltd., 561 U.S. 247, 266 (2010). Where, as here, “it is clear that the

scheme was principally foreign in nature and only incidentally touched the United States,” the

Government may not seek to charge foreign nationals with allegedly unlawful wire transfers.

Sonterra Cap. Master Fund, Ltd. v. Barclays Bank PLC, 366 F. Supp. 3d 516, 557 (S.D.N.Y. 2018)

(citing Sullivan v. Barclays PLC, 2017 WL 685570 at 33–34 (S.D.N.Y. Feb. 21, 2017) (concluding

that allegations of similar conduct were “organized outside of the United States through a

European trade association,” and that “[t]he use of United States wires was, at most, incidental”);

Laydon v. Mizuho Bank, Ltd., 2015 WL 1515487 at *8–9 (S.D.N.Y. Mar. 31, 2015), aff'd sub nom.

Laydon v. Cooperatieve Rabobank U.A., 51 F.4th 476 (2d Cir. 2022), and aff'd sub nom. Laydon

v. Cooperatieve Rabobank U.A., 55 F.4th 86 (2d Cir. 2022) (concluding that plaintiffs could not

pursue RICO claims “based on the alleged actions of foreign and international institutions that

submitted false information to the BBA and [Japanese Bankers Association], located in London

and Tokyo, respectively”).




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       “[S]ome incidental domestic activity” by Alvarado that is “principally foreign in nature” is

all the Government alleges here, where it alleges that wire transfers were used in the much larger

context of a sprawling international conspiracy to violate the FCPA by facilitating bribes. Where

a statute’s language “provides for some extraterritorial application, the presumption against

extraterritoriality operates to limit that provision to its terms.” RJR Nabisco, 579 U.S. at 339

(citation omitted) (emphases added). And just as a RICO violation “may be based on a pattern of

racketeering that includes predicate offenses committed abroad” only if “each of those offenses

violates a predicate statute that is itself extraterritorial,” id. at 340, the Government here may not

use predicate offenses of the AMLA, such as the FCPA or wire fraud, that are not themselves

extraterritorial. Tellingly, neither the FCPA nor the wire fraud statute evidences any congressional

intent to impose criminal liability for transactions that only incidentally occurred in the United

States. “The drafters of §1343 did not envision the statute applying to internationals bouncing

wires into and out of the United States, with no participation from any U.S. resident, in order to

defraud international entities.” United States v. Hussain, 2017 WL 4865562, at *4 (N.D. Cal. Oct.

27, 2017), aff’d, 972 F.3d 1138 (9th Cir. 2020).

       In short, the Government’s vessel for predicate offenses here, the AMLA, is a leaky one

that cannot keep afloat either violations of the FCPA or the wire fraud statute. The Supreme Court

has warned against courts “discerning,” on their own, that Congress may have intended to

criminalize behavior that Congress did not expressly criminalize, explaining that “disregard of the

presumption against extraterritoriality .... has been repeated over many decades by various courts

of appeals ... That has produced a collection of tests for divining what Congress would have

wanted, complex in formulation and unpredictable in application.” Morrison v. Nat’l Australia

Bank Ltd., 561 U.S. 247, 255–56 (2010). Accordingly, and in addition to the other grounds already




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articulated because Congress did not clearly intend to make foreign nationals liable for wire

transfers – whether through the vehicle of the FCPA or the wire fraud statute – all counts against

Alvarado must be dismissed.

       II.     The Criminal Charges Against Alvarado Are the Same as Those Under
               Investigation in Spain; Principles of International Comity Counsel Dismissal.
       The Government breezes past the Spanish proceedings against Alvarado with two footnotes

and fails to take those proceedings as seriously as Supreme Court precedent requires. See Govt.

Resp. at 8 n.2 and 10 n.5. For example, the Government describes the Spanish proceedings as “a

pending related, yet different, investigation in Spain.” Id. at 8 n.2. It also says the “Spanish

proceeding is a suit filed by PDVSA against Defendant and is in no way running in parallel with

the government’s long running investigation into bribery and corruption at PDVSA.” Id. at 10 n.5.

       Both such statements made by the Government are patently wrong. The Government has

either not taken the time to read the Spanish court’s ruling denying the Government’s own request

to extradite Alvarado to the United States, or the Government has deliberately misrepresented the

nature and status of the Spanish proceedings. Neither is factual or good. The case in Spain is

demonstrably not a “suit filed by PDVSA” against Alvarado, as the Government says it is. The

Spanish proceeding is a criminal proceeding originally filed by the Spanish Special Prosecutor

Against Corruption and Organized Crime (Fiscalía Especial contra la Corrupción y la Criminalidad

Organizada) on June 21, 2017. The fact that, as permitted under Spanish law, PDVSA filed a

separate criminal complaint (against Alvarado in Spain on May 30, 2017, and that, subsequently,

both complaints were consolidated into one) in no way changes the nature of the Spanish case: a

criminal proceeding being conducted by a criminal court. The proceedings in Spain started before

the Superseding Indictment, the first charging instrument in the United States implicating

Alvarado.



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        That is, it was not until after the criminal proceeding in Spain was well underway that the

Government sought and obtained the Superseding Indictment in this case, after which it submitted

a request to the Spanish government for Alvarado’s extradition. A provisional arrest warrant was

issued in Spain, and Alvarado was imprisoned in Spain for more than four and a half months as

the extradition request wound its way through the Spanish court system.

        The court of first instance in Spain denied the Government’s request to extradite Alvarado,

and the Government appealed that decision to the highest national criminal court in Spain, the

“Audiencia Nacional.” The criminal division of the Audiencia Nacional (the “Sala de lo Penal”),

comprised of seventeen (17) judges, issued a unanimous ruling on February 11th, 2020, affirming

the lower court’s ruling. That court, the Sala de lo Penal, held that the facts under investigation in

the Spanish criminal court proceeding were very closely related to those the subject of the

Government’s Superseding Indictment and, as such, it was more feasible that the Government

submit its criminal complaint to the Spanish authorities so that it could be tried in Spain, as

contemplated by international law. The entire decision of the Audiencia Nacional is attached as

Exhibit 1.

        The U.S. Government is on notice of the ruling by the 17-member Audiencia Nacional. In

fact, U.S. officials from the Department of Justice were invited to attend, and they were present in

the court room when the Audiencia Nacional ruled that Alvarado’s request for extradition would

be denied. 3

        It is completely disingenuous and materially misleading for the Government now to

mischaracterize the nature of the Spanish proceedings, purporting to distinguish them from the



3
  Alvarado’s long-time collaboration with the U.S. Government resulted in charges made by the Maduro government
that he was a “U.S. collaborationist,” as illustrated in Exhibit 2, a summary from a recent press conference of the
Attorney General of Venezuela, Tarek William Saab.


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“criminal case pending in the United States” by characterizing the Spanish proceedings as a “suit

filed by PDVSA against Defendant [that] is in no way running parallel with the government’s

long-running investigation into bribery and corruption at PDVSA ...” Govt. Resp. at 10, n.5. As

the Government knows, in Spain, a person, whether natural or legal, may file a criminal complaint

as the accuser. Such a complaint is investigated in a legal proceeding conducted by a criminal court

and might, at its conclusion, result in an indictment. The Government knows that that is how the

criminal law system operates in Spain, yet it fails to acknowledge it. Furthermore, because he is

under investigation in the Spanish legal proceedings, Alvarado has been ordered to surrender his

passports to the Spanish government and is prohibited from traveling outside Spain. Characterizing

Alvarado as a “fugitive,” as the Government does in its response, is a gross misnomer, designed

to portray him negatively in violation of the presumption of innocence that the law accords him.

The Government’s invocation of the fugitive disentitlement doctrine is, consequently, a red

herring.

       Further, this open omission on the part of the Government of the criminal process carried

out in Spain, ignoring the essential allegations and documents provided under oath by PDVSA

itself, is the basis of the statement at page 10 of the Government’s Response, “Defendant dedicates

the first twenty-two pages of his fifty-page motion to a lengthy factual summary of PDVSA’s

purchasing processes and his role within the company, one in which he purports to refute many of

the factual allegations in the Superseding Indictment. (DE 363 at 4-26). The government disagrees

with Defendant’s self-serving version of the facts...” Indeed, Alvarado devoted a good number of

pages of his Motion to Dismiss to explain, based on these facts presented in the Spanish case, why

the Superseding Indictment is fundamentally wrong, not even sufficient on its face.




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        As we have already expressed, such errors are due to the fact that the Government first

ignored the existence of this parallel process in Spain, and second, concealed from the Grand Jury

the documents and other allegations provided by Alvarado years before to the prosecutors of the

Department of Justice, as well as to officials of the State Department, thus obtaining the fatally-

flawed Superseding Indictment from the Grand Jury. 4

        In any event, were the Government to prevail, the result would constitute an affront to basic

principles of foreign relations. Notably, international comity is “the recognition which one nation

allows within its territory to the legislative, executive or judicial acts of another nation, having due

regard both to international duty and convenience, and to the rights of its own citizens, or of other

persons who are under the protection of its laws.” Derr v. Swarek, 766 F.3d 430, 437 (5th Cir.

2014) (citing Hilton v. Guyot, 159 U.S. 113, 164 (1895)).

        Dismissal of a suit on international comity grounds is appropriate when there is litigation

pending in a foreign forum or, even absent such litigation, when allowing a case to proceed in the

United States would intrude on the interests of a foreign government. Protexa v Marmex, (5th Cir.

No. 08-41021, filed December 9, 2009), citing Ungaro-Benages v. Dresdner Bank AG, 379 F.3d

1227, 1238 (11th Cir. 2004). That is the case here.

        The Government was invited to participate in proceedings relating to the same facts and

allegations in Spain. It did not decline because it simply ignored the invitation. The highest

criminal court in Spain, after due consideration, decided to retain jurisdiction. The Government




4
  Alvarado will be sending a detailed letter to the Department of Justice Office of Professional Responsibility and
likely other offices reporting this and related matters as the Government’s conduct is inconsistent with the Justice
Manual and other Government policies regarding the conduct of those responsible for matters of this magnitude
implicating foreign officials and former officials.



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effectively asks this Court to overrule the decision of the highest criminal court in Spain. Alvarado,

in turn, asks this Court to decline that implicit invitation.

                                           CONCLUSION

        Defendant Javier Alvarado Ochoa asks the Court to grant his motion and dismiss all counts

pending against him with prejudice and requests such other and further relief to which he may be

entitled.

                                                  Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I certify that on this 19th day of April, 2023, I served a true and correct copy of the foregoing
reply on all counsel of record by notice of electronic filing.

                                                        /s/ Michael J. Wynne
                                                        Michael J. Wynne




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